 Case: 1:20-cv-01853 Document #: 478 Filed: 10/11/23 Page 1 of 12 PageID #:9837




               IN THE UNITED STATES DISTRICT COURT
      FOR THE NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION



BCBSM, INC., et al.,                            Case No. 1:20-cv-01853

     Plaintiffs,
                                                 Honorable Virginia M. Kendall
                       v.                        Honorable Sheila M. Finnegan

WALGREEN CO. & WALGREENS BOOTS                   Related Cases:
ALLIANCE, INC.,                                  Case No. 1:20-cv-04738
                                                 Case No. 1:20-cv-03332
     Defendants.                                 Case No. 1:20-cv-01929
                                                 Case No. 1:20-cv-04940
                                                 Case No. 1:22-cv-01362
WALGREEN CO. & WALGREENS BOOTS
ALLIANCE, INC.,

      Third-Party Plaintiffs,

                       v.

PRIME THERAPEUTICS LLC & OMEDARX, INC.,

      Third-Party Defendants.




                                JOINT STATUS REPORT
     Case: 1:20-cv-01853 Document #: 478 Filed: 10/11/23 Page 2 of 12 PageID #:9838




          Pursuant to the Court’s September 8, 2023, Order (ECF No. 474), the Initial Plaintiffs,1

the Additional Plaintiffs,2 Defendant / Third-Party Plaintiff Walgreen Co. (“Walgreens”) and

Defendant Walgreens Boots Alliance, Inc. (together with Walgreens, “Defendants”), and Third-

Party Defendants Prime Therapeutics LLC (“Prime”) and OmedaRx, Inc. f/k/a Regence Rx, Inc.

(“OmedaRx”), through their respective counsel, respectfully submit the following Joint Status

Report.

    I.     The Current Deadlines Imposed by the Court and Whether the Matter Has
           Been Referred to the Magistrate Judge in Any Fashion

           A.     Deadline for the Close of Fact Discovery

          By order dated March 30, 2023 (ECF No. 436), the parties are to substantially complete

document production by two (2) months after the resolution of Walgreens’ pending motion to




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        BCBSM, Inc. (d/b/a Blue Cross and Blue shield of Minnesota); HMO Minnesota (d/b/a
Blue Plus); Health Options, Inc. (d/b/a Florida Blue HMO); Blue Cross and Blue Shield of North
Carolina; Blue Cross Blue Shield of North Dakota; Blue Cross and Blue Shield of Florida, Inc.
(d/b/a Florida Blue); Blue Cross and Blue Shield of Alabama; Blue Cross and Blue Shield of
Kansas, Inc.; Blue Cross and Blue Shield of Massachusetts, Inc.; Blue Cross and Blue Shield of
Massachusetts HMO Blue, Inc.; Wellmark, Inc. (d/b/a Wellmark Blue Cross and Blue Shield and
d/b/a Wellmark Blue Cross and Blue Shield of Iowa); Wellmark of South Dakota, Inc. (d/b/a
Wellmark Blue Cross and Blue Shield of South Dakota); Wellmark Health Plan of Iowa, Inc.;
Wellmark Synergy Health, Inc.; Wellmark Value Health Plan, Inc.; Blue Cross and Blue Shield of
Arizona, Inc. (d/b/a Blue Cross Blue Shield of Arizona and d/b/a AZBLUE); Asuris Northwest
Health; Blue Cross and Blue Shield of Kansas City, Inc.; Cambia Health Solutions, Inc.; Regence
BlueShield of Idaho, Inc.; Regence BlueCross BlueShield of Oregon; Regence BlueCross
BlueShield of Utah; Regence BlueShield; HealthNow New York, Inc.; Highmark Western New
York, Inc. (f/k/a Blue Cross of Western New York); Northeastern New York (f/k/a BlueShield of
Northeastern New York); Horizon Healthcare Services, Inc. (d/b/a Horizon Blue Cross Blue Shield
of New Jersey); and Horizon Healthcare of New Jersey, Inc. (d/b/a Horizon NJ Health).
2
        CareFirst of Maryland, Inc.; Group Hospitalization and Medical Services, Inc.; CareFirst
BlueChoice, Inc.; Blue Cross and Blue Shield of South Carolina; BlueChoice HealthPlan of South
Carolina, Inc.; Louisiana Health Service & Indemnity Company, d/b/a/ Blue Cross and Blue Shield
of Louisiana, and HMO Louisiana, Inc.


                                                 1
    Case: 1:20-cv-01853 Document #: 478 Filed: 10/11/23 Page 3 of 12 PageID #:9839




compel (ECF No. 374),3 and fact discovery (including oral discovery) is to be completed three (3)

months following that substantial completion deadline.

         B.       Referral to Magistrate Judge

        On April 11, 2022, the Court referred this case to Magistrate Judge Sheila Finnegan for

general discovery supervision. (ECF No. 252).

         C.       Expert Discovery

        By order dated March 30, 2023 (ECF No. 436), expert discovery is currently governed by

the following deadlines:

              •   Opening expert reports are due five (5) weeks following the end of fact

                  discovery;

              •   Rebuttal expert reports are due eight (8) weeks following opening expert

                  reports;

              •   Expert discovery closes seven (7) weeks following rebuttal expert reports.

         D.       Proposed Pre-Trial Scheduling Order and Dispositive Motions

        By order dated March 30, 2023 (ECF No. 436), the parties are to submit a proposed pre-

trial scheduling order, including deadlines for dispositive and pre-trial motions, one (1) week

following the close of expert discovery.




3
       The currently operative scheduling order sets the substantial completion deadline at two
months after resolution of the last of two motions to compel that were pending when the scheduling
order was entered. The Court granted the second of those two motions (ECF No. 407) on May 31,
2023 (see ECF No. 453). The other motion remains pending before the Special Master appointed
by the Court. (ECF No. 450.)


                                                 2
  Case: 1:20-cv-01853 Document #: 478 Filed: 10/11/23 Page 4 of 12 PageID #:9840




 II.    The Progress of Discovery

        A.      Document Production and Written Interrogatories

       As reported in previous Joint Status Reports, the parties are currently engaged in written

discovery and continue to produce documents and respond to written discovery requests. The

Initial Plaintiffs have produced 284,081 documents and 3,007,644 pages. Defendants have

produced 249,695 documents and 1,744,029 pages.

       The parties have continued to engage regarding ongoing discovery obligations and have

exchanged letters over the course of the past several months and weeks outlining concerns and

expectations in this regard. There remain open disputes regarding the scope of certain written

discovery. Most significantly, Walgreens filed a Motion to Compel Plaintiffs’ Document

Discovery and Related Metrics on December 21, 2022, regarding material gaps in the Initial

Plaintiffs’ document productions. (ECF No. 374). On May 2, 2023, the Court appointed Dr.

Maura Grossman as Special Master, pursuant to Federal Rule of Civil Procedure 53, to assist the

Court in resolving this motion. (ECF No. 450). Dr. Grossman filed her initial Order on

Preliminary Diagnostic Protocol to Assess the Adequacy of Initial Plaintiffs’ Original and

Supplemental Productions on July 21, 2023. (ECF No. 465).

       As reported in prior Joint Status Reports, the Additional Plaintiffs and Defendants have

each served written discovery requests. Defendants have provided the Additional Plaintiffs with

the written and document discovery produced by Defendants before the Additional Plaintiffs

joined the case and served written responses and objections to the Additional Plaintiffs’ document

requests. The Additional Plaintiffs served Defendants written responses to Defendants’ discovery

requests on January 17, 2023. The parties have met, conferred, and agreed on the general scope

of those written responses and negotiated the Additional Plaintiffs’ search parameters for their

custodial email review. To date, the Additional Plaintiffs have made four productions of


                                                3
  Case: 1:20-cv-01853 Document #: 478 Filed: 10/11/23 Page 5 of 12 PageID #:9841




documents to Defendants, consisting of 3,824 documents and 44,773 pages. The Additional

Plaintiffs continue to review documents for potential production in response to Defendants’

requests.

        Prime has responded to the written discovery requests that Walgreens served starting on

November 5, 2021, and Prime has produced certain documents, including documents that it

previously produced in other U&C pricing litigation. To date, Prime’s four productions consist

of 5,328 documents and 65,381 pages. Prime continues to review documents for potential

production in response to Defendants’ requests.

        OmedaRx has responded to the written discovery requests served on it by Defendants.

OmedaRx has represented to Defendants that documents responsive to Walgreens’ Requests for

Production of Documents to OmedaRx have previously been produced by the Cambia Plaintiffs.

Defendants are evaluating that assertion. Defendants have also raised certain deficiencies in

OmedaRx’s written responses with counsel to OmedaRx and the Initial Plaintiffs.

         B.      Depositions of the Parties and Their Former and Current Employees

        Plaintiffs have taken depositions of one current and six former Walgreens employees.

Additionally, Plaintiffs have indicated their intent to depose one additional Walgreens employee.

        To date, Walgreens has neither taken, nor requested, the depositions of any Plaintiff or

Prime witness. As explained further below, Walgreens intends to take depositions only after

witnesses’ documents have been produced to Walgreens.

        The Initial Plaintiffs / Counter-Defendants and Defendants have exchanged initial drafts

of topic lists for corporate representative depositions. Defendants have served objections to the

Initial Plaintiffs’ draft topic list. On September 8, 2023, Defendants provided the Additional

Plaintiffs with (a) Defendants’ initial draft topics list for the Additional Plaintiffs’ corporate

representative depositions, and (b) the Initial Plaintiffs’ preliminary draft topic list for Walgreens’


                                                   4
  Case: 1:20-cv-01853 Document #: 478 Filed: 10/11/23 Page 6 of 12 PageID #:9842




corporate representative depositions and Walgreens’ objections to those topics. The Additional

Plaintiffs indicated on October 3, 2023, that they would review those materials.

         Prime intends to take depositions of current or former Walgreens employees.

  III.     Other Third-Party Discovery

         The Initial Plaintiffs / Counter-Defendants have issued subpoenas to the following third-

party entities:

            •     National Council of Prescription Drug Programs, Inc.

            •     Pharmaceutical Care Management Association

            •     Costco Wholesale Corporation

            •     The Kroger Co.

            •     Elixir Rx Solutions, LLC

            •     GoodRx Holdings, Inc.

            •     Klix, LLC d/b/a Easy Drug Card

            •     Towers Administrators LLC d/b/a SingleCare Administrators

            •     NeedyMeds, Inc.

            •     U.S. Pharmacy Card, LLC

            •     Discount Drug Network, LLC

            •     Texas Health and Human Services

            •     Oregon Health Authority

            •     Connecticut Department of Social Services

         The Additional Plaintiffs have issued subpoenas to the following third-party entities:

            •     Caremark, LLC

            •     Express Scripts, Inc.



                                                   5
Case: 1:20-cv-01853 Document #: 478 Filed: 10/11/23 Page 7 of 12 PageID #:9843




       •   OptumRx, Inc.

       •   Walmart, Inc.

       •   Target Corporation

       •   WAGDCO, LLC

       •   MedImpact Healthcare Systems, Inc.

       •   Envolve Pharmacy Solutions Pharmacy Solutions, Inc.

       •   Leehar Distributors, LLC

       •   Medical Security Card Company, LLC

    Defendants / Counter-Plaintiff have issued subpoenas to the following third parties:

       •   Bretta Grinsteinner

       •   Blue Cross Blue Shield Association

       •   Caremark, LLC

       •   DST Pharmacy Solutions, Inc. (f/k/a Argus Health Systems, Inc.)

       •   Express Scripts, Inc.

       •   MedImpact Healthcare Systems, Inc.

       •   OptumRx, Inc.

       •   Preferred Care Services, Inc.

       •   EPIC Pharmacy Network, Inc.

       •   Health Mart Atlas, LLC

       •   Wholesale Alliance, LLC

       •   Blue Cross and Blue Shield of Nebraska, Inc.




                                            6
  Case: 1:20-cv-01853 Document #: 478 Filed: 10/11/23 Page 8 of 12 PageID #:9844




 IV.    The Status of Discovery Motions

       As noted above, Defendants filed a Motion to Compel Plaintiffs’ Document Discovery

and Related Metrics on December 21, 2022. (ECF No. 374). Plaintiffs filed their response in

opposition on January 23, 2023. (ECF No. 400). Defendants filed their reply on February 9,

2023. (ECF No. 414). On May 2, 2023, the Court appointed Dr. Maura Grossman as Special

Master to decide Walgreens’ motion.           The parties have met and exchanged several

correspondences with Dr. Grossman regarding procedural and merits issues related to the motion

to compel. The Special Master and the parties discussed potential resolutions of the motion

during a phone call on June 13, 2023. Following another phone call between the Special Master

and the parties on September 29, 2023, the parties will be submitting proposed remediation steps

in writing to the Special Master. The next call is scheduled for October 20, 2023.

       Additionally, Defendants filed a second Motion to Compel Plaintiffs’ Discovery on

January 23, 2023. (ECF No. 407). The Court granted Walgreens’ motion in full on May 31,

2023, ordering the Initial Plaintiffs to promptly provide the applicable discovery responses. (ECF

No. 453). Certain Initial Plaintiffs served compelled responses to the discovery requests on July

28, August 4, and August 25, 2023. Counsel for Defendants is reviewing those responses for

completeness. On September 8, 2023, Defendants filed a Motion for Attorneys’ Fees and

Expenses (ECF No. 470, 472) to recover the costs associated with their successful motion to

compel. On September 13, 2023, the Court ordered that objections to the motion for attorneys’

fees shall be filed by September 25, 2023. (ECF No. 473). On September 25, 2023, the Initial

Plaintiffs filed a Memorandum in Opposition to Defendants’ Motion for Attorneys’ Fees and

Expenses. (ECF No. 475). On September 29, 2023, Defendants moved for leave to file instanter




                                                 7
  Case: 1:20-cv-01853 Document #: 478 Filed: 10/11/23 Page 9 of 12 PageID #:9845




a Reply in Support of their Motion for Attorneys’ Fees and Expenses, (ECF No. 476), which the

Court granted on October 3, 2023, (ECF No. 477). The motion for attorneys’ fees is pending.

       Defendants have asserted certain deficiencies in Prime’s discovery responses and

anticipate the possibility of seeking relief from the Court, as appropriate, in the coming weeks.

 V.      Whether the Parties Have Engaged or Are Engaging in Settlement Discussions

       The parties have not engaged in settlement discussions.

 VI.    Whether the Parties Believe a Telephonic Hearing or In-Person Hearing Is
        Necessary Within the Next 60 Days

       The parties do not anticipate the need for a hearing with the Court within the next 60 days.

       Pursuant to the Court’s May 25, 2022, Order (ECF No. 276), the parties shall continue to

provide joint status reports at 30-day intervals. Subject to the Court’s approval, the parties will

file the next status report by November 13, 2023.




                                                 8
Case: 1:20-cv-01853 Document #: 478 Filed: 10/11/23 Page 10 of 12 PageID #:9846




Dated: October 11, 2023                         Respectfully submitted,

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                                            9
Case: 1:20-cv-01853 Document #: 478 Filed: 10/11/23 Page 11 of 12 PageID #:9847



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                                      10
Case: 1:20-cv-01853 Document #: 478 Filed: 10/11/23 Page 12 of 12 PageID #:9848




                               CERTIFICATE OF SERVICE

       I, Charles D. Zagnoli, an attorney authorized to practice before this Court, hereby

certify that the foregoing Joint Status Report was electronically filed on October 11, 2023, and

will be served electronically via the Court’s ECF Notice system upon the registered parties

and counsel of record.



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